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                                                NORTHERN DISTRICT OF CALIFORNIA
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                                                        SAN FRANCISCO DIVISION
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                        RICHARD KADREY, et al.,                          Case No. 3:23-cv-03417-VC-TSH
                   22
                           Individual and Representative Plaintiffs,    DEFENDANT META PLATFORMS, INC.’S
                   23                                                   OPPOSITION TO PLAINTIFFS’ MOTION FOR
                               v.                                       LEAVE TO FILE THIRD AMENDED
                   24                                                   CONSOLIDATED COMPLAINT
                        META PLATFORMS, INC., a Delaware
                   25   corporation;                                     Hearing Date: January 9, 2025 at 10:00 a.m.

                   26                     Defendant.

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                    1          Plaintiffs’ Motion for Leave to File Third Amended Consolidated Complaint (“TACC”)

                    2   (Dkt. 300) (“Motion”), should be denied. Fact discovery closes in two days. Yet, on the eve of

                    3   Thanksgiving and without prior notice, Plaintiffs filed a motion to amend their operative complaint

                    4   to add two new claims that would drastically change the nature of this case. Plaintiffs’ eleventh-

                    5   hour gambit is based on a false and inflammatory premise: that “[t]he new claims could not have

                    6   been added sooner because they rest on the recently unearthed evidence (including evidence that

                    7   Meta previously concealed).” Mot. at 2. Meta has not “concealed” anything; discovery produced

                    8   by Meta months ago revealed the allegedly “new” facts.1 But rather than alert the Court to the

                    9   need for potential amendment when Plaintiffs moved to modify the case schedule in September,

                   10   Plaintiffs waited until the last minute to seek leave to amend. This delay is unjustified. 2

                   11          Plaintiffs also are wrong that allowing them to amend now will not prejudice Meta or disturb

                   12   the case schedule. The present Motion will not even be heard until early January 2025—weeks

                   13   after the fact discovery cutoff and the day before expert reports are due. Meta has a right to defend

                   14   itself. Not only would Meta need to undertake further fact discovery on the issues Plaintiffs seek

                   15   to add—which, to date, have been only a tangential and incomplete part of fact discovery—but

                   16   Meta would need to significantly augment its expert and summary judgment strategy. Thus, if

                   17   Plaintiffs were permitted to amend now, that would require reopening fact discovery, moving the

                   18   expert discovery deadlines, and, in turn, moving the summary judgment deadlines. Effectively,

                   19   Plaintiffs’ late amendment would give it the much longer extension of the case schedule that they

                   20   previously sought (Dkt. 193) and did not receive (Dkt. 211). This, too, is unjustified.

                   21          Finally, the Motion should be denied as futile because Plaintiffs’ proposed new causes of

                   22   action fail to state claims upon which relief may be granted. First, Plaintiffs’ proposed DMCA

                   23   claim was already dismissed with prejudice and cannot be resuscitated now. In any case, Plaintiffs’

                   24   conclusory theory—that by allegedly removing CMI, along with many other types of repetitive

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                        1
                   26     The Motion continues Plaintiffs’ pattern of baselessly seeking to blame Meta for their own delays
                        and lack of diligence. This is not acceptable, as the Court has repeatedly recognized. See, e.g.,
                   27   10/4/24 Tr. at 17 (Dkt. 219) (noting Plaintiffs’ “false assertion—that Meta is stonewalling you”).
                        2
                          In addition to proposing to mount two new causes of action against Meta, Plaintiffs’ proposed
                   28   complaint would add additional allegations regarding the existing copyright infringement claim.
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                        See Mot. at 1, 8–9. As explained below, there is no need for any such “conforming” amendment.
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                    1   has previously amended, and (5) bad faith. See, e.g., In re W. States Wholesale Nat. Gas Antitrust

                    2   Litig., 715 F.3d 716, 738 (9th Cir. 2013) (affirming denial of leave to amend).

                    3          A.      Plaintiffs Unduly Delayed Seeking Leave To Amend.
                    4          Relevant to both the Rule 15 and 16 inquiries is the belated nature of Plaintiffs’ request and

                    5   their false contentions that they could not have sought leave sooner. Plaintiffs claim to have

                    6   “discovered new facts giving rise to and supporting their new causes of action during the past few

                    7   weeks, including key evidence obtained only this past week.” Mot. at 8 (emphasis in original).

                    8   This contention withers under scrutiny. There is no “new” evidence excusing the delay.

                    9          As explained above, Plaintiffs represented to the Court at a September 20 hearing that they

                   10   were “contemplating an amendment, and we’d like to do that soon,” “based in part on depositions

                   11   this week.” 9/20/24 Hr’g Tr. at 46 (Dkt. 177) (emphasis added). And shortly after new counsel

                   12   appeared, Plaintiffs proposed in an October 1 court filing that they would be prepared to file any

                   13   motion to amend by October 11. Dkt. 193 at 2. Yet, Plaintiffs then withheld moving to amend for

                   14   over two months. Additionally, Plaintiffs did not propose a deadline for moving to amend as part

                   15   of the parties’ stipulation regarding “all surrounding dates,” Dkt. 211, once the Court extended the

                   16   case schedule. See Dkts. 227, 238. That was the time for Plaintiffs to alert the Court and Meta that

                   17   they would be moving to amend—not 11 business days before the close of fact discovery. See

                   18   Zivkovic v. S. Cal. Edison Co., 302 F.3d 1080, 1087 (9th Cir. 2002) (affirming denial of leave to

                   19   amend where plaintiff sought to add two new claims five days before discovery cutoff); see also

                   20   Brownlee v. 12745 Moorpark LLC, 2014 WL 4978441, at *2 (C.D. Cal. Oct. 3, 2014) (denying

                   21   motion to supplement complaint brought 10 days before discovery cutoff after four-month delay).

                   22          Nor is Plaintiffs’ sandbagging justified by any “new” evidence. Plaintiffs have long had

                   23   discovery from Meta regarding the purported factual basis for their Motion. Indeed, they even

                   24   made the inflammatory and meritless claim of a “crime/fraud” based on these supposedly “new”

                   25   facts in a letter sent to Meta over a month before their eleventh-hour motion to amend. See Dkt.

                   26   262; Dkt. 262-3. Plaintiffs’ lack of diligence weighs heavily against allowing amendment.

                   27          First, regarding their attempt to replead a violation of § 1202(b)(1) of the DMCA, Plaintiffs

                   28   cite (Mot. at 3) two documents produced by Meta on November 9, 2024 purportedly referring to
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                    1   . . . provide the factual bases” for their proposed amendment. Mot. at 1. Plaintiffs have had the

                    2   supposed “factual bases” for those claims for over five months, yet they waited until the last minute

                    3   to seek to amend. Thus, because Plaintiffs have failed to show good cause, diligence, and lack of

                    4   undue delay, the Motion should be denied. See, e.g., Brownlee, 2014 WL 4978441, at *3.

                    5          B.      Plaintiffs’ Amendment Would Upend The Case Schedule And Prejudice Meta.
                    6          Plaintiffs seek to avoid the inevitable delay and prejudice that would be caused by their

                    7   amendment by claiming that the Court can simply freeze discovery where it stands. See Mot. at 1,

                    8   6–7. This would prevent Meta from defending itself and would be impermissible. Plaintiffs’

                    9   Motion, if granted, would upend the case schedule and prejudice Meta.

                   10          Notably, the Motion will not even be heard until January 9, 2025—weeks after fact

                   11   discovery ends and the day before the parties’ opening expert reports are due, Dkt. 238. “A need

                   12   to reopen discovery and therefore delay the proceedings supports a district court's finding of

                   13   prejudice from a delayed motion to amend the complaint.” Lockheed Martin Corp. v. Network

                   14   Sols., Inc., 194 F.3d 980, 986 (9th Cir. 1999); see Mot. at 6–7 (acknowledging same). Meta would

                   15   be unfairly prejudiced by any reopening of discovery at this point—particularly in light of

                   16   Plaintiffs’ conduct to date, which has already necessitated two extensions of the fact discovery

                   17   deadline, see Dkts. 163, 211. Relatedly, Meta also would be deeply prejudiced if Plaintiffs’ Motion

                   18   is granted without allowing Meta further discovery—as it has a right to develop evidence and

                   19   defend itself against Plaintiffs’ new DMCA and CDAFA claims, were they permitted. See Johnson,

                   20   975 F.2d at 609 (“the existence or degree of prejudice to the party opposing the modification might

                   21   supply additional reasons to deny a motion”). In short, prejudice weighs heavily against Plaintiffs.

                   22          First, Meta has a right to develop its own evidence in defense of Plaintiffs’ proposed new

                   23   claims, and discovery would need to be reopened for Meta to do so. For over the last year, Meta’s

                   24   document production and deposition testimony has been focused on the core issue presented by the

                   25   operative complaint—whether Meta’s training of its Llama models on datasets including Plaintiffs’

                   26   works is fair use—not supposed (long dismissed) DMCA or (entirely new) CDAFA or

                   27   “distribution” claims. Plaintiffs’ existing written discovery requests at most tangentially relate to

                   28   these new claims. Likewise, Meta’s discovery responses and document production, though at times
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                    1   propounded written discovery to Plaintiffs on these issues because they not been part of the case

                    2   since discovery opened. Nearly all of Plaintiffs’ depositions were taken by the time of Plaintiffs’

                    3   Motion. Third-party discovery may also be necessary, including with respect to the CDAFA claim

                    4   insofar as Meta allegedly “accessed” third-party systems and files. Because Meta has not had a fair

                    5   opportunity to take either written or deposition discovery from Plaintiffs or third parties regarding

                    6   the proposed new claims, discovery would need to reopen were Plaintiffs’ belated Motion granted.

                    7          Fourth, if the Court does not conclude from the present briefing that the new claims are

                    8   futile, Meta would file a Rule 12(b)(6) motion as to those claims, which would not be heard until

                    9   March—further warranting denial of Plaintiffs’ motion. See Davis v. Pinterest, Inc., 2020 WL

                   10   6342936, at *2 (N.D. Cal. Oct. 29, 2020) (denying leave to amend where adding a new cause of

                   11   action would likely prompt a renewed motion to dismiss). And while no new claim should survive,

                   12   if they did, Meta would need to file an answer and additional affirmative defenses. Then, after

                   13   building an additional factual and expert record, Meta would need to file a separate summary

                   14   judgment motion as to those claim(s)—pushing the current deadlines by months.

                   15          Because Plaintiffs’ proposed amendment would necessitate reopening discovery and

                   16   extending it into next year—a gambit that Plaintiffs previously attempted and the Court rejected,

                   17   see Dkts. 193, 211—as well as new expert work, motion practice, affirmative defenses, and moving

                   18   all case deadlines, thereby prejudicing Meta, which has acted diligently, it should be denied.

                   19          C.      Plaintiffs’ Proposed Amendment Is Futile.
                   20                  1.      The Proposed DMCA § 1202(b)(1) Claim Is Futile.
                   21          Plaintiffs’ proposed DMCA claim fails for at least three reasons.

                   22          First, Plaintiffs’ DMCA claim under § 1202(b)(1) has been dismissed with prejudice and

                   23   thus no longer can be pursued. As explained above, Plaintiffs’ original complaint included a claim

                   24   under § 1202(b)(1), Dkt. 1, ¶ 49, which this Court dismissed, with leave to amend, Dkt. 56 at 3–4.

                   25   Plaintiffs chose not to amend, and the claim thus has been dismissed with prejudice. See, e.g.,

                   26   Fallay v. S.F. City & Cnty., 2016 WL 888901, at *3 (N.D. Cal. Mar. 8, 2016) (dismissing claim

                   27   with prejudice after plaintiff was given opportunity to amend and failed to do so).

                   28          Second, if not precluded, Plaintiffs’ proposed § 1202(b)(1) claim does not cure the
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                    1                  2.      The Proposed CDAFA Claim Is Futile Because It Is Preempted and,
                                               Separately, Because It Fails to State a Claim.
                    2

                    3          First, as the Motion presages, the CDAFA claim is preempted. See Mot. at 10 n.6. Courts

                    4   use a two-part test to assess whether a state law claim is preempted by the Copyright Act. See

                    5   Maloney v. T3Media, Inc., 853 F.3d 1004, 1010 (9th Cir. 2017). First, the court asks “whether the

                    6   subject matter of the state law claim falls within the subject matter of copyright as described in 17

                    7   U.S.C. §§ 102 and 103.” Id. (cleaned up). The court next asks “whether the rights asserted under

                    8   state law are equivalent to the rights contained in 17 U.S.C. § 106, which articulates the exclusive

                    9   rights of copyright holders.” Id. (cleaned up). “To survive preemption, the state cause of action

                   10   must protect rights which are qualitatively different from the copyright rights. The state claim must

                   11   have an extra element which changes the nature of the action.” Id. at 1019 (cleaned up).

                   12          Under these standards, Plaintiffs’ proposed CDAFA claim is clearly preempted. Plaintiffs’

                   13   CDAFA claim is based on the statute’s prohibition against “[k]nowingly access[ing] and without

                   14   permission tak[ing], cop[ying], or mak[ing] use of any data from a computer, computer system, or

                   15   computer network[.]” Cal. Penal Code § 502(c)(2). Plaintiffs allege a violation of this provision

                   16   based on Meta’s alleged “obtaining pirated, unlicensed, hacked, downloaded, and/or scraped

                   17   versions of the Infringed Works via bit torrent protocols for use to train Llama models and by

                   18   sharing, distributing, and/or uploading the same works in the process.” Proposed TACC, ¶ 111;

                   19   see id. ¶¶ 43, 87, 110–14. In other words, Plaintiffs allege that Meta obtained their Infringed

                   20   Works—i.e., their “data”—from unauthorized websites. This is nothing more than a reframing of

                   21   their core Copyright Act claim: that Plaintiffs “never authorized Meta to make copies of their

                   22   Infringed Works,” “distribute copies,” or “ma[k]e copies of the Infringed Works during the training

                   23   process to develop Llama[.]” Id. ¶¶ 99–100. Notably, Plaintiffs concede that the “data” underlying

                   24   their proposed CDAFA claim are the allegedly “Infringed Works,” id. ¶ 111, defined as “the

                   25   copyrighted books that Meta copied and used without permission to train Llama, regardless of

                   26   where or how Meta downloaded or otherwise accessed the books,” id. ¶ 46 (emphasis added).

                   27          Plaintiffs try to avoid preemption by arguing that “the focus on unauthorized access to

                   28   plaintiffs’. . . texts gives the CDAFA statute an ‘extra element’ that makes it ‘qualitatively
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                    1   reputational damages, and other consequential losses.” Proposed TACC, ¶ 114. Although this

                    2   conclusory allegation of “damages” conflicts with Plaintiffs’ admissions in discovery that they lack

                    3   any documentary evidence of injury or loss attributable to Meta’s training (Hartnett Decl., Ex. H

                    4   (selected admissions)), here, Plaintiffs do not allege any damage to their data, and “loss of the right

                    5   to control their own data, the loss of the value of their data, and the loss of the right to protection

                    6   of the data,” are not types of loss covered by the CDAFA. See Cottle v. Plaid Inc., 536 F. Supp.

                    7   3d 461, 488 (N.D. Cal. 2021); see also Doe v. Meta Platforms, Inc., 690 F.Supp.3d 1064, 1081-83

                    8   (N.D. Cal. Sept. 7, 2023) (finding allegations that protected information was diminished in value

                    9   did not qualify as damage or loss under CDAFA). Plaintiffs’ CDAFA claim fails on this basis, too.

                   10                  3.      There Is No Basis Or Need For A “Conforming” Amendment.
                   11          Plaintiffs claim that their proposed amendments, other than adding two new causes of

                   12   action, merely “conform the operative pleading to the evidence adduced to date” and “provide a

                   13   fuller picture of Meta’s copyright infringement.” Mot. at 1; see id. at 8–9. But Plaintiffs cite no

                   14   authority requiring or authorizing such amendment, and the portion of Rule 15 concerning

                   15   conforming amendments pertains aligning with the trial evidence—a situation not presented here.

                   16   See Fed. R. Civ. P. 15(b)(2). In any case, the two issues—other than “distribution,” see infra—that

                   17   Plaintiffs seek to address regarding their existing claim are to include all versions of Llama, see

                   18   Mot. at 8–9, and to “clarif[y] that Meta downloaded Plaintiffs’ copyrighted works from a multitude

                   19   of ‘shadow libraries,’ not just Books3,” id. at 9. These issues already are in the case and there is

                   20   no need for amendment. See Mot. at 9 (acknowledging that “Judge Hixson has ruled that

                   21   developmental Llama models are relevant to this case”); 9/20/24 Tr. at 47–48 (Dkt. 177) (the Court,

                   22   questioning why amendment would be necessary for datasets other than Books3 to be in this case).

                   23          Plaintiffs also seek to sneak in as a “conforming” amendment a significant expansion of the

                   24   existing Copyright Act claim. See Ex. B to Mot. (redlining claim); Mot. at 1–2 (claiming that recent

                   25   evidence “crystalizes claims alleging the ‘distribution’ of pirated material,” thus “buttress[ing]

                   26   Plaintiffs’ copyright” claim, but not identifying a revision of the Copyright Act claim). This furtive

                   27   effort should be rejected. For the last year, Plaintiffs’ Copyright Act claim has been about whether

                   28   alleged copying in the training process constitutes infringement; Plaintiffs now seek to transform
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                                                                           META’S OPPOSITION TO MOTION FOR LEAVE
                                                                  16            TO FILE THIRD AMENDED COMPLAINT
